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                  Exhibit A
06/11/2021 11:19:59 AM KANNER & PINTALUGA                         P. A.                     PAGE 2        OF 106
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                                                                  Correspcmdmcsto;                          m:m) 352-2395
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                                                                                                           TEL: 1 <3«* i8&4555
                     i ®' 7    : -*1»
                                                       June 11,2021

         Sedgwick
         Attn: Claims Department
         P.O. Box 14436
         Lexington, KY 40512

         Sent via Certified U.S. Mail #7020 2450 0001 3379 5284—Return Receipt Requested & Fax to 704-423-6241

         Re;     Our Client                 Sharnice Edwards
                 Claim No.                  302170142360001
                 Location                   1531 Campbell Rd, Atlanta, GA 30311
                 Date of Accident           01/27/2021

         To Whom It May Concern:

         Please be advised that our client, Sharnice Edwards, sustained very serious, life-altering injuries

         part of Family Dollar, whose employees tailed to' exercise due care              uftaM'lMHa
         condition of a slippery substance to be present on the floor where patrons, such as our client,
         traversed. As a direct result of your employees’ negligence, our client slipped on said slippery
         substance, falling on her arm and causing her serious injury. See e.g., Rothberg v. Bradley, 85
         Ga. App. 477, 480 (Ga. Ct. App. 1952); Fulton Ice & Coal Co. v. Pece, 29 Ga. App. 507 (1923);
         Tybee Amusement Co v. Odum. 51 Ga. App. 1 (1935). Also be advised that we have received
         medical records pertaining to the above referenced client, thus we are hereby forwarding the
         enclosed for your review and to be included in your evaluation.

         After the fall, Sharnice presented to Atlanta Medical Center for emergency medical attention to
         her shoulder, and other issues. She then spent a number of hours in the hospital, undergoing a
         litany of diagnostic tests and treatment procedures, thereby incurring significant medical costs,
         before being discharged with prescription narcotics and instructions regarding follow-up care.
         After she was released from the emergency room, continued pain and discomfort prompted
         Sharnice to embark upon an extended course of regular physical therapy and medical care.
         Subsequent MRI testing revealed that she sustained a herniated disc with annular tear in Iter
         cervical spine as well as sequelae of the anteroinferior shoulder dislocation including a Hills-
         Sachs contusion and anteroinferior labral tear, rotator cuff tendinosis, and sprain of the
         inferior glenohumeral ligament, thus necessitating her being referred for more advanced
         medical supervision. As months of conservative treatment failed to adequately treat Sharnice’s
         grievous injuries, she was referred to an orthopaedic surgeon, who recommended and performed
         drastic arthroscopic left shoulder anterior-inferior labral repair and capsular shift. In addition
         to the extreme pain and suffering that was inflicted on him as a result of said surgery, Sharnice
         has also incurred over $63*0G0M in enclosed medical expenses, and counting. In light of
                II            I J       I        i r                      il i min milniiffniiiimiiiflintnfliinnn tir

                                                                                         www.Kpattorney.com • www.kpabogados.con

  OFFICES THROUGHOUT THE UNITED STATES
  6/11/2021 12:00:00 AM                         302170142360001                                   5220210611008983
06/11/2021 11:19:59 AM KANNER & PINTALUGA                     P. A.                PAGE 3        OF 106
             Case 1:21-cv-04746-LMM Document 1-1 Filed 11/17/21 Page 3 of 18




         through your insured’s negligence, along with the exorbitant medical costs for treatment thereof,
         for many years to come.

         Considering her said grievous injuries, Yolanda’s damages may continue to accrue for some time
         to come. As such, should you wish to attempt to resolve this matter short of litigation, please
         note that we are hereby extending to you the opportunity to resolve Yolanda’s claim for the sum
         of $1,000,000. Upon your review of the enclosed, we are confident you will agree that our offer
         to settle this case for the sum of $1,000,000 is easily justified, and you will thus promptly tender
         said sum to our office, located at 201 Peachtree Street N.E., Suite 200, Atlanta, GA 30303,
         within thirty (30) days of receiving this letter. Please do not hesitate to contact the undersigned
         if you have any additional questions or concerns.

         Also, please be aware that pursuant to the “Unliquidated Damages Interest Act,” set forth in
         O.C.G.A. § 51-12-14, if the Defendant fails to make payment on this amount within thirty (30)
         days from the mailing of this notice, my client shall be entitled to receive interest on the claimed
         sum if, upon trial of the case in which the claim is made, the judgment is for an amount not less
         than the sum claimed. The interest provided by § 51-12-14 shall be at the prime rate set on the
         date listed above plus three percent (3%) interest, and shall begin to run from the thirtieth (30th)
         day following the date of the mailing of this written notice through the date of judgment. This
         demand is made pursuant to O.C.G.A. § 51-12-14 which allows for interest in the amount of
         twelve percent (12%) per annum when a demand for unliquidated damages is made by certified
         mail and when such demand is not paid within thirty (30) days from the date of mailing the
         notice, and when upon trial a judgment is made for an amount not less than that demanded.

         Thank you for your anticipated cooperation.

         Sincerely,




         Abrianne Brookins, Esq




                                                                             www.kpattorney.com * www.kpabogados.com

OFFICES THROUGHOUT THE UNITED STATES
  6/11/2021 12:00:00 AM                        302170142360001                            5220210611008983
                    Case 1:21-cv-04746-LMM
                               ^
                                           Document 1-1 Filed 11/17/21 Page 4 of 18                                                             Print Form

     SHERIl7F'SENTRYOFSERVICE GWINNETT COUNTY
                                                                                                  Superior Court ❑            Magistrate Court ❑
     Civil Action No. 21 EV006209                                                                 State Court    X            Probate Court    ❑
                                                                                                  Juvenile Court ❑

     Date Filed                                                                                   Georgia, FULTON                     COUNTY

                                                                                                   SHARNICE N. EDWARDS
     Attorney's Address

       Morqan L. Medders                                                                                                                Plaintiff

       2870 Peachtree Rd.. # 104                                                                            vS.

       Atlanta. GA 30305
                                                                                                   FAMILY DOLLAR STORES OF GEORGIA.
     Name and Address of Party to Served
                                                                                                   LLC: and JOHN DOE # 1
      Fw..t1Y D®11e.r S4erea o~ Crwrb;.., LLC,
                                                                                                                                         Defendant
     Cf0 CorporaA-ton SerY►cc. CdCm«n1
      2 . Su,.n Cewt, Sie. yD®
      Pc"is- ,r~ COcntrs,GA 300`1~
                                                                                                                                         Garnishee
                                                               ~ .1 . _I        ~IItY_I . `ZI           0~i~Z~

     PEI2SONAL
     I have this day served the defendant                                                                                       personally with a copy
❑    of the within action and summons.

     NOTORIOUS
     I have ihis day served the defendant                                                                                                 by leaving a
     copy of the action and summons at his most notorious place abode in this County.

❑    Delivered same into hands of                                                                                                described as follows:
     age, about               years; weight                    pounds; height                feet and             inches, domiciled at the residence of
     defendant.

     COIdPORATION
     Served the defendant                   f rr      :' 1~r       ~                                        t (                          a corporation

0- by leaving a copy of the within action and summons with
   In charge of the office and place of doing business of said Corporation in this County.

     TACK & MAIL
     I have this day served the above styled affidavit and summons on the defendant(s) by posting a copy of the same to the door of the premises
     designated in said affidavit and on the same day of such posting by depositing a true copy of same in the United States Mail, First Class in an
❑    envelope properly addressed to the defendant(s) at the address shown in said summons, with adequate postage affixed thereon containing notice
     to the defendant(s) to answer said summons at the place stated in the summons.

     NON EST
     Diligent search made and defendant
❑    not to be found in the jurisdiction of this Caurt.


     This            ~day of   `     • 'l     ~~ ~ ~ ~ r k20


            DEPUTY
                           Case 1:21-cv-04746-LMM Document 1-1 Filed 11/17/21 Page 5 of 18
                                                                                         State Court of Fulton County
                              General Civil and Domestic Relations Case Filing Information Form       ***EFILED***
                                                                                                  File & ServeXpress
                                        ☐ Superior or ☐ State Court of ______________________________
                                                             ■         FULTON                         County                          Transaction ID: 67008456
                                                                                                                                   Date: Oct 12 2021 12:00AM
              For Clerk Use Only                                                                                               Christopher G. Scott, Chief Clerk
                                                                                                                                                  Civil Division
              Date Filed _________________________                                Case Number _________________________
                              MM-DD-YYYY

      Plaintiff(s)                                                                   Defendant(s)
      __________________________________________________
      Edwards Sharnice         N.                                                    __________________________________________________
                                                                                     Family Dollar Stores of Georgia, LLC
      Last              First                  Middle I.     Suffix     Prefix         Last                  First        Middle I.   Suffix    Prefix
      __________________________________________________                             __________________________________________________
                                                                                     John Doe # 1
      Last              First                  Middle I.     Suffix     Prefix         Last                  First        Middle I.   Suffix    Prefix
      __________________________________________________                             __________________________________________________
      Last              First                  Middle I.     Suffix     Prefix         Last                  First        Middle I.   Suffix    Prefix
      __________________________________________________                             __________________________________________________
      Last              First                  Middle I.     Suffix     Prefix         Last                  First        Middle I.   Suffix    Prefix

      Plaintiff’s Attorney ________________________________________
                           Morgan L. Medders                                             Bar Number __________________
                                                                                                    569286                     Self-Represented ☐

                                                                 Check One Case Type in One Box

              General Civil Cases                                                             Domestic Relations Cases
              ☐           Automobile Tort                                                     ☐            Adoption
              ☐           Civil Appeal                                                        ☐            Dissolution/Divorce/Separate
              ☐           Contract                                                                         Maintenance
              ☐           Garnishment                                                         ☐            Family Violence Petition
              ☐
              ■
                          General Tort                                                        ☐            Paternity/Legitimation
              ☐           Habeas Corpus                                                       ☐            Support – IV-D
              ☐           Injunction/Mandamus/Other Writ                                      ☐            Support – Private (non-IV-D)
              ☐           Landlord/Tenant                                                     ☐            Other Domestic Relations
              ☐           Medical Malpractice Tort
              ☐           Product Liability Tort                                              Post-Judgment – Check One Case Type
              ☐           Real Property                                                       ☐   Contempt
              ☐           Restraining Petition                                                  ☐ Non-payment of child support,
              ☐           Other General Civil                                                      medical support, or alimony
                                                                                              ☐   Modification
                                                                                              ☐   Other/Administrative

      ☐       Check if the action is related to another action(s) pending or previously pending in this court involving some or all
              of the same parties, subject matter, or factual issues. If so, provide a case number for each.
              ____________________________________________            ____________________________________________
                           Case Number                                              Case Number

      ☐
      ■
              I hereby certify that the documents in this filing, including attachments and exhibits, satisfy the requirements for
              redaction of personal or confidential information in O.C.G.A. § 9-11-7.1.

      ☐       Is an interpreter needed in this case? If so, provide the language(s) required. ________________________________
                                                                                                                        Language(s) Required

      ☐       Do you or your client need any disability accommodations? If so, please describe the accommodation request.
              _________________________________________________________________________________________________________________________
              _________________________________________________________________________________________________________________________
                                                                                                                                                  Version 1.1.18



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                     Case 1:21-cv-04746-LMM Document 1-1 Filed 11/17/21 Page 6 of 18
                                                                              State Court of Fulton County
      GEORGIA, FULTON COUNTY                                 DO NOT WRITE IN THIS SPACE      ***EFILED***
                                                                                         File & ServeXpress
      STATE COURT OF FULTON COUNTY              CIVIL ACTION FILE #: ___________________________
                                                                                        Transaction ID: 67008456
                       Civil Division                                                                                                Date: Oct 12 2021 12:00AM
                                                                                                                                 Christopher G. Scott, Chief Clerk
                                                                                                                                                   Civil Division

                                                                                  TYPE OF SUIT                               AMOUNT OF SUIT
      _____________________________________
      SHARNICE N. EDWARDS
                                                                                    [ ] ACCOUNT                              TBD
                                                                                                                  PRINCIPAL $_____________
      _____________________________________                                         [ ] CONTRACT
                                                                                    [ ] NOTE                                 TBD
                                                                                                                  INTEREST $______________
      _____________________________________                                         [ ] TORT
      Plaintiff’s Name, Address, City, State, Zip Code                              [ X ] PERSONAL INJURY                     TBD
                                                                                                                 ATTY. FEES $_____________
                                                                                    [ ] FOREIGN JUDGMENT
                                                                                    [ ] TROVER                                  TBD
                                                                                                                 COURT COST $ ___________
                               vs.
                                                                                    [ ]SPECIAL LIEN
                                                                                                         ************
      _____________________________________
      FAMILY DOLLAR STORES OF                                                       [ ] NEW FILING
      _____________________________________
      GEORGIA, LLC; and JOHN DOE # 1                                                [ ] RE-FILING: PREVIOUS CASE NO. ___________________

      _____________________________________
      Defendant’s Name, Address, City, State, Zip Code

                   SUMMONS
      TO THE ABOVE NAMED-DEFENDANT:
       You are hereby required to file with the Clerk of said court and to serve a copy on the Plaintiff’s Attorney, or on Plaintiff if no Attorney, to-wit:
      Name: ______________________________________________
            Morgan L. Medders
               2870 Peachtree Rd., # 104
      Address: ____________________________________________
                             Atlanta, GA 30305
      City, State, Zip Code: __________________________________________________                              404-832-0640
                                                                                                   Phone No.:___________________________
      An answer to this complaint, which is herewith served upon you, must be filed within thirty (30) days after service, not counting the day of service. If you
      fail to do so, judgment by default will be taken against you for the relief demanded in the complaint, plus cost of this action. DEFENSES MAY BE MADE &
      JURY TRIAL DEMANDED, via electronic filing or, if desired, at the e-filing public access terminal in the Self-Help Center at 185 Central Ave., S.W.,
      Ground Floor, Room TG300, Atlanta, GA 30303.

                                                                                                  Christopher G. Scott, Chief Clerk (electronic signature)



      ______________________________________________________________________________________________________________________


      SERVICE INFORMATION:
      Served, this _______ day of ____________________, 20______.                   _______________________________________________
                                                                                     DEPUTY MARSHAL, STATE COURT OF FULTON COUNTY

      WRITE VERDICT HERE:
      We, the jury, find for ______________________________________________________________________________________________
      _______________________________________________________________________________________________________________
      This _________ day of _______________________, 20_____.                 ______________________________________ Foreperson


                                                               (STAPLE TO FRONT OF COMPLAINT)




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                        Case 1:21-cv-04746-LMM Document 1-1 Filed 11/17/21 Page 7 of 18
                                                                            State Court of Fulton County
                                                                                         ***EFILED***
                                                                                     File & ServeXpress
                                                                                                    Transaction ID: 67008456
                                   IN THE STATE COURT OF FULTON COUNTY                           Date: Oct 12 2021 12:00AM
                                             STATE OF GEORGIA                                Christopher G. Scott, Chief Clerk
                                                                                                                Civil Division
             SHARNICE N. EDWARDS,                :
                                                 :
                   Plaintiff,                    :
                                                 :                 Civil Action File No.:__________________
             v.                                  :
                                                 :
             FAMILY DOLLAR STORES OF             :
             GEORGIA, LLC; and JOHN DOE # 1,     :
                                                 :
                   Defendants.                   :
             ____________________________________

                                             COMPLAINT FOR DAMAGES

                    COMES NOW, Sharnice N. Edwards, Plaintiff in the above-styled action, by and through

             her undersigned counsel, and files this Complaint against Defendants Family Dollar Stores of

             Georgia, LLC and John Doe # 1, and respectfully shows this Honorable Court as follows:

                                                         PARTIES

                                                              1.

                    Plaintiff is a resident of the State of Georgia harmed by the negligent acts and omission of

             the Defendants and subjects herself to the jurisdiction of this Court.

                                                              2.

                    Family Dollar Stores of Georgia, LLC (“Family Dollar” or “Defendants”) is a foreign for-

             profit corporation that maintains its principal office at 500 Volvo Parkway, Chesapeake, Virginia

             23320-1017.

                                                              3.

                    Family Dollar may be served with process through its registered agent as follows:

             Corporation Service Company, 2 Sun Court, Suite 400, Peachtree Corners, Gwinnett County,

             Georgia 30092.




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                                                             4.

                     Jurisdiction and Venue are proper as to Defendant Family Dollar.

                                                             5.

                     Defendant Family Dollar has been properly served with process in this action.

                                                             6.

                     John Doe #1was the store manager of Defendant Family Dollar’s retail location situated at

             1531 Campbellton Road, Atlanta, Georgia 30311 on January 27, 2021 engaged in the management,

             control, and supervision of the subject location. The identity of John Doe # 1 is unknown to

             Plaintiff at this time but is readily ascertainable by Defendant. Once the identity of John Doe # 1

             is discovered, this Complaint will be amended to substitute any Party that is or may be liable to

             Plaintiff.

                                                             7.

                     Upon information and belief, John Doe # 1 is a resident of the state of Georgia and may be

             served accordingly once Plaintiff has discovered the identity of John Doe # 1.

                                                             8.

                     Jurisdiction and Venue are proper as to Defendant John Doe # 1.

                                             JURISDICTION AND VENUE

                                                             9.

                     Jurisdiction and venue are proper against Defendants because the cause of action originated

             in Fulton County and Defendant Family Dollar maintains an office and transacts busines in Fulton

             County. See Ga. Const., art. VI § 2, ¶ & VI; O.C.G.A. § 14-2-510(b)(2).




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                                      ADDITIONAL PROCEDURAL MATTERS

                                                             10.

                    Defendants consent to electronic service of the pleadings as allowed by O.C.G.A. § 9-11-

             5(f), and therefore, have placed an e-mail address below the signature block of their answers.

                                                             11.

                    Pursuant to O.C.G.A. § 9-11-45(a)(1)(B), Plaintiff and Defendants agree that their

             attorneys who are listed in the pleadings may issue and sign subpoenas for persons sought to be

             deposed in this action so long as the attorneys follow State Disciplinary Board Advisory Opinion

             No. 40 by providing deposition notices for each person on whom a subpoena is served.

                              OPERATIVE FACTS, DAMAGES, AND LEGAL RELIEF

                                                             12.

                    At all relevant times, Defendant Family Dollar owned, operated, controlled, and/or

             managed the Family Dollar retail store located at 1531 Campbellton Road, Atlanta, Fulton County,

             Georgia 30311.

                                                             13.

                    At all relevant times, Defendant John Doe # 1 managed, supervised, and facilitated the

             operation of the subject location, as well as trained, managed, and directed Defendant Family

             Dollar’s employees at the subject location situated at 1531 Campbellton Road, Atlanta, Fulton

             County, Georgia 30311.

                                                             14.

                    At all relevant times, Plaintiff Edwards was a customer and invitee at the Family Dollar

             retail store and a beneficiary of the services provided by Defendants.




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                                                              15.

                      On or about January 27, 2021, Plaintiff Edwards shopped at the subject Family Dollar retail

             store.

                                                              16.

                      As Plaintiff Edwards entered the store and walked past the cashier’s station, Plaintiff

             slipped in a liquid or other substance on the floor.

                                                              17.

                      Plaintiff Edwards fell and landed on her left arm and side.

                                                              18.

                      As a result, Plaintiff Edwards sustained severe and permanent injuries including, but not

             limited to, a left shoulder anterior-inferior labral tear and a left paracentral annular tear in her

             cervical spine.

                                                              19.

                      At all times, Plaintiff Edwards exercised ordinary care and diligence under the

             circumstances then existing.

                                                              20.

                      Defendant Family Dollar breached it’s legal duty to keep the premises in a state consistent

             with the due regard for the safety of its invitees, including Plaintiff Edwards, by failing to exercise

             ordinary care to keep its premises safe and by failing to act as similarly situated businesses in like

             circumstances.

                                                              21.

                      Defendant John Doe # 1 breached their legal duty to keep the premises in a state consistent

             with the due regard for the safety of members of the public, including Plaintiff Edwards, by failing




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             to prevent reasonably foreseeable injuries, by creating a foreseeable risk of harm to customers, by

             failing to remedy or fix the dangerous condition, and by failing to properly train and supervise

             employees under their management.

                                                              22.

                    Prior to and on January 27, 2021, Defendants negligently maintained, inspected, and

             managed the property.

                                                              23.

                    Defendants had both actual knowledge and constructive knowledge of the need to properly

             maintain, inspect, and manage said property.

                                                              24.

                    Defendants failed to exercise ordinary care in maintaining, inspecting, and managing said

             property.

                                                              25.

                    Defendants failed to correct, mark, or remove the defective and hazardous condition

             existing on its premises, thereby creating an unreasonable risk of injury to their invitees, including

             Plaintiff Edwards.

                                                              26.

                    Defendants knew of, or by the exercise of due care for the safety of their invitees, including

             Plaintiff Edwards, should have known of the defective and hazardous condition(s) existing on their

             premises.




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                                                              27.

                     Defendants knew, or by the exercise of due care for the safety of their invitees, including

             Plaintiff Edwards, should have known that the failure to correct, mark, remove, and/or repair said

             condition(s) was likely to result in the precise injuries suffered by Plaintiff Edwards.

                                                              28.

                     Defendants had actual and constructive knowledge of the dangerous condition of the floor

             existing on its property prior to the fall incident involving Plaintiff Edwards.

                                                              29.

                     Defendants permitted the dangerous condition of the floor to exist and remain on their

             premises.

                                                              30.

                     Defendants negligently failed to warn its invitees, including Plaintiff Edwards, of the

             existence of the dangerous condition of the floor and the likelihood that someone would be badly

             hurt.

                                                              31.

                     Defendants knew of, or with the exercise of due care for the safety of its invitees should

             have known of, the dangerous and hazardous conditions existing on the premises and that failure

             to maintain, inspect, and manage the premises would likely result in the injuries suffered by

             Plaintiff Edwards, but Defendants failed to act to correct, prevent, or warn of the dangerous

             condition and dangerous environment of said property.

                                                              32.

                     Defendants were negligent per se.




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                                                             33.

                    Defendant Family Dollar was negligent and said negligence proximately caused Plaintiff

             Edwards’s injuries in the following ways:

                        a. Violation of O.C.G.A. § 51-3-1 by failing to use ordinary care to keep the premise
                           and approaches safe;

                        b. Violation of state and local building and safety codes for failure to properly provide
                           a safe means in ingress and egress within Defendants’ premises, failing to provide
                           a proper slip-resistant surface and/or slip-resistant rug or mat, failure to
                           appropriately mark the area, failure to provide adequate warnings regarding the
                           potential for spills or other hazards, and other such violations to be proven at trial;

                        c. Violation of federal, state, and local regulations regarding the handling of liquid
                           substances;

                        d. In failing to properly inspect and maintain the premises and approaches;

                        e. In knowingly allowing their invited guests to utilize an unsafe area of the premises
                           and approaches;

                        f. In failing to warn of the latent dangers on the premises;

                        g. In failing to properly train and supervise their employees and independent
                           contractors in regard to the maintenance and safety of the premises and approaches;

                        h. In negligently retaining, entrusting, hiring, training, selecting, and supervising said
                           employees and independent contractors; and

                        i. In violating industry standards of the retail store management industry with such
                           violation leading to the dangers.

                                                           34.

                    Defendant John Doe # 1 was negligent and said negligence proximately caused Plaintiff

             Edwards’s injuries in the following ways:

                        a. Violation of O.C.G.A. § 51-3-1 by failing to use ordinary care to keep the premise
                           and approaches safe;

                        b. In failing to prevent reasonably foreseeable injuries and creating a foreseeable risk
                           of harm to customers by failing to maintain the floor space in and around the cash
                           registers;

                        c. In failing to adequately warn Plaintiff Edwards of the potential hazardous or




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                            dangerous condition that existed on the floor space in and around the cash registers
                            that he or she knew or should have known of, or that existed for a sufficient length
                            of time so that Defendant John Doe # 1 should have discovered and corrected the
                            hazard;

                        d. In failing to adequately remedy the dangerous condition or otherwise fix it;

                        e. In failing to properly train and supervise employees on the duty to inspect or
                           adequately inspect the floors;

                        f. In failing to properly train and supervise employees on the duty to warn customers
                           of unsafe conditions that they knew or should have known of;

                        g. In failing to properly inspect and maintain the premises and approaches;

                        h. In knowingly allowing their invited guests to utilize an unsafe area of the premises
                           and approaches;

                        i. In negligently retaining, entrusting, hiring, training, selecting, and supervising said
                           employees and independent contractors; and

                        j. In violating industry standards of the retail store management industry with such
                           violation leading to the dangers.

                                                           35.

                    Defendants had actual knowledge of the dangerous and hazardous conditions existing at

             the premises due to the direct knowledge of their employees and agents.

                                                             36.

                    Defendants had constructive knowledge of the dangerous and hazardous conditions

             existing on the premises through the knowledge of their employees and agents.

                                                             37.

                    Defendants had constructive knowledge of the dangerous and hazardous conditions

             existing on the premises due to the prior similar issues occurring at the subject premises.

                                                             38.

                    Defendants negligently failed to maintain a policy, procedure, or system of investigating,

             reporting, and warning of the aforementioned floor dangers and negligently maintained property.




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                                                            39.

                    Defendants are liable for the injuries to Plaintiff Edwards which occurred without

             necessity, privilege, or consent.

                                                            40.

                    Defendants negligently represented to their invitees that the property at issue was properly

             maintained and secured.

                                                          41.

                    Defendants negligently failed to provide adequate protection and inspection related to the

             floor at the property.

                                                          42.

                    Defendants failed to take appropriate action to remedy or reduce the danger to its invitees,

             including Plaintiff Edwards, and allowed the dangerous environment on the subject property to

             continue to exist unabated.

                                                          43.

                    Each of the forgoing acts and omissions constitute an independent act of negligence on the

             part of one or more Defendants and one or more of the above stated acts were the proximate cause

             of the injuries to Plaintiff Edwards. But for said tortious acts, Plaintiff Edwards would not have

             suffered injuries.

                                                          44.

                    All Defendants are jointly and severally liable for the injuries and all damages recoverable

             under Georgia law.

                                                          45.

                    All Defendants are vicariously liable for any negligent conduct of any other Defendant




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             and/or its agents and employees that caused injuries and damages to Plaintiff Edwards recoverable

             under Georgia law.

                                                          46.

                     Plaintiff Edwards sustained injuries and damages, which were directly and proximately

             caused by the negligence of Defendants. But for the negligence of Defendants, Plaintiff Edwards

             would not have suffered serious injury, physical pain, and mental and psychological suffering.

                                                          47.

                     As a result of Defendants’ negligence, Plaintiff Edwards incurred reasonable and necessary

             medical expenses exceeding $70,000.00, and Plaintiff will continue to incur medical expenses in

             the future.

                                                          48.

                     Plaintiff is entitled to recover all elements of her damages allowed under Georgia law,

             including but not limited to:

                            a.     Personal injuries;

                            b.     Past, present and future pain and suffering;

                            c.     Disability;

                            d.     Disfigurement;

                            e.     Mental anguish;

                            f.     Loss of the capacity for the enjoyment of life;

                            g.     Incidental expenses;

                            h.     Past, present and future medical expenses;

                            i.     Permanent injuries;

                            j.     Lost wages;




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                             k.    A diminished capacity to labor; and

                             l.    Consequential damages to be proven at trial.

                                                            49.

                    Plaintiff is entitled to recover all expenses and attorney’s fees pursuant to O.C.G.A. § 13-

             6-11 because Defendants have acted in bad faith, been stubbornly litigious, and caused Plaintiff

             unnecessary trouble and expense.

                                                            50.

                    The jury is entitled to impose punitive damages because the actions of Defendants showed

             an entire want of care, which would raise the presumption of conscious indifference to

             consequences.

                                                            51.

                Each of the forgoing acts and omissions constitute an independent act of negligence on the part

             of the Defendants, and one or more of the above stated acts were the proximate causes of the

             injuries and damages sustained by the Plaintiff.


                    WHEREFORE, Plaintiff prays for a judgment against Defendants for the following:

                    1)       Plaintiff be awarded actual damages in amounts to be shown at trial;

                    2)       Plaintiff be awarded all general, special, compensatory, economic, and other
                             allowable damages in accordance with the enlightened conscience of an impartial
                             jury from the Defendants;

                    3)       Punitive damages be imposed on Defendants in an amount to be determined by the
                             enlightened conscience of the jury;

                    4)       Plaintiff be awarded a trial by jury; and

                    5)       Plaintiff have such other relief as this Court deems just and appropriate under the
                             circumstances.

             TRIAL BY JURY IS HEREBY DEMANDED.




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                    This 12th day of October, 2021.

                                                      Respectfully submitted,

                                                      THE MEDDERS LAW FIRM, LLC

                                                      BY:    /s/ Morgan L. Medders___
                                                             Morgan L. Medders
                                                             Georgia Bar No. 569286
                                                             Attorney for Plaintiff

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